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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov


  THOMAS G. NEUSOM,

         Appellant,                                           Case No.: 1:18-cv-24463-FAM

  v.

  BRIAN HOLLAND, et al.

         Appellee.
  ____________________________________/

  LANDLORD’S MOTION FOR EXTENSION OF TIME TO FILE A RESPONSE BRIEF
         Brian Holland and Andrea Holland (“Landlord”), pursuant to Fed. R. Bankr. P. 9006 and

  Local Rule 7.1, request that the Court grant a thirty-day extension of time for Landlord to file a

  response to Thomas Neusom’s (‘Neusom”) Appellate Brief (“Brief”) [D.E. 15]. Landlord further

  states as follows:

         1.      On October 25, 2018, Neusom filed a Notice of Appeal regarding the Findings of

  Fact and Conclusions of Law on Landlord’s Motion for Sanctions under Bankruptcy Rule 9011

  and 11 U.S.C. § 105 (“Sanctions Order”).

         2.      Neusom filed his Brief on January 30, 2019. Thus, Landlord’s response is due on

  March 1, 2019.

         3.      Landlord believes that Neusom’s appeal is unmeritorious; however, to avoid the

  cost of continued litigation, Landlord and Neusom entered a settlement that resolves the Sanctions

  Order and the issues presented in the pending appeal.
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           4.    Because the settlement impacts a bankruptcy case, Landlord filed a motion seeking

  the Bankruptcy Court’s approval of the settlement, and a hearing is scheduled for February 28,

  2019. A copy of the notice of hearing is attached as Exhibit A.

           5.    Landlord’s response is due only one day after the scheduled hearing, on March 1,

  2019.

           6.    If the Bankruptcy Court approves the settlement, Neusom, as a term of the

  settlement, will dismiss the pending appeal.

           7.    Landlord requests that the Court grant an extension, up to and including March 31,

  2019, for Landlord to file a response to the Brief.

           8.    The requested extension will allow the parties time to obtain the Bankruptcy

  Court’s approval of the settlement and dismiss the appeal without incurring additional litigation

  costs.

           9.    Neusom consent to the requested relief and will not be prejudiced by the extension.

           10.   This motion is filed in good faith and not for the purposes of harassment or delay.

           WHEREFORE, Landlord respectfully request that this Court enter an Order (similar in

  form to the Order attached as Exhibit B) extending the deadline to file a response brief to March

  31, 2019, and for any other and further relief as this Court deems just and proper.



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                                CERTIFICATE OF CONFERRAL

         Undersigned counsel conferred with Neusom by e-mail on January 30, 2019 regarding the

  relief sought in this motion. Neusom consents to the requested relief.

     Dated: February 6, 2019.


                                                s/ Utibe I. Ikpe
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing Landlord’s Motion

  for Extension of Time to File a Response Brief was served electronically on all counsel of parties

  of record via transmission of Notices of Electronic Filing generated by CM/ECF on February 6,

  2019.


                                               s/ Utibe I. Ikpe
                                               Utibe I. Ikpe, Esquire
